Case 2:22-cv-09203-MEMF-KS Document 42 Filed 04/02/23 Page 1 of 4 Page ID #:119


                                                                                    04/02/2023
 CLINTON BROWN, Pro Se
                                                                          KD
 16821 Edgar Street
 Pacific Palisades, CA 90272
 clinton@atlasinc.solar
 310-487-6453
 Note: The Clerk must not refuse to file a paper solely because it is not in the form
 prescribed by these rules or by a local rule or practice. Fed. R. Civ. P. 5(d)(4)

                                UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA


 CLINTON BROWN,                                                 CASE NO. 2:22-cv-09203-MEMF-KS
                     Plaintiff,                                 Motion for Injunctive Relief
            vs.                                                 Judge: Honorable Maame Ewusi-
 CLARK R. TAYLOR, AICP, THE                                     Mensah Frimpong
 LOS ANGELES COUNTY                                             Magistrate Judge: Karen L.
 DEPARTMENT OF REGIONAL                                         Stevenson
 PLANNING,                                                      Action Filed: 12/17/2022
                     Defendant.                                 Action Due: 01/12/2023


                                MOTION FOR INJUNCTIVE RELIEF

 NOTICE TO THE COURT, Plaintiff respectfully requests a writ be issued
 pursuant to 28 U.S.C. § 1651(a), thus rendering the Constitutional violation, ad
 interim, unviolated.1 The Fifth Amendment’s Self-Executing Takings Clause
 requires Just Compensation at the time of the Taking and interest until the Taking
 violation is unviolated. Knick v. Twp. of Scott, 139 S. Ct. 2162 (2019). The factual
 record is not materially disputed by the Defendant, thus a prima facie claim is
 established. (Citations omitted). The Defendant, acting under the color of law,

 1
     All Writs Act, Judiciary Act of 1789, § 14, 1 Stat. 73, 81-82 (1789)


                                        MOTION FOR INJUNCTIVE RELIEF
Case 2:22-cv-09203-MEMF-KS Document 42 Filed 04/02/23 Page 2 of 4 Page ID #:120




 deprived Plaintiff's Fifth Amendment Constitutional right upon the Taking of
 property without Just Compensation. Defendant unilaterally rejected the Plaintiff’s
 solar facility application, without redress. Defendant's actions prevented the
 Plaintiff from obtaining the signatures required for permit approval.2 Issuing a writ,
 in this case, would not violate the government’s regulatory power and would
 inviolate the Taking, thus Just Compensation not unduly burden the Plaintiff and
 the Public. (Emphasis added).


 THEREFORE, Plaintiff requests writ of injunction to inviolate, ad interim, the
 Fifth Amendment violation.




 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the
 United States of America that the foregoing is true and correct.”




 Clinton Brown                                                              04/02/2023

 2
  Ex. 1. Department of Public Works Building and Safety Division, “Agency Referral,” issued 09/01/2021, and Los
 Angeles County Department of Regional Planning, “SUBJECT: APPLICATION has been REJECTED,” issued
 10/12/2021. (original emphasis added).


                                    MOTION FOR INJUNCTIVE RELIEF
        Case 2:22-cv-09203-MEMF-KS Document 42 Filed 04/02/23 Page 3 of 4 Page ID #:121
                                         COUNTY OF LOS ANGELES                                          CALABASAS
                                         DEPARTMENT OF PUBLIC WORKS                          MALIBU DISTRICT OFFICE
                                         BUILDING AND SAFETY DIVISION
                                         AGENCY REFERRAL                                           26600 Agoura Rd. Suite 110
                                        Office Hours: 7:00 am - 5:30 pm M-Th                             Calabasas, CA 91803
                                       Plan Checker Hours: 7:00 am - 11:00 am                       Telephone: (818) 880-4150

 GENERAL PROJECT INFORMATION

PLAN CHECK:        UNC-SOLR210831002871                           DISTRICT No:           9.10

JOB ADDRESS:       27250 Agoura Road                              CITY:      Agoura Hills

APPLICANT:         Brown, Clinton                                 EMAIL:     projects@atlasdevelopmentgroupllc.c



THIS NOTICE IS TO INFORM YOU THAT APPROVAL FROM THE AGENCIES MARKED BELOW, IN ADDITION TO
BUILDING PLAN CHECK APPROVAL, MUST BE OBTAINED PRIOR TO PERMIT ISSUANCE. You may need to submit the
pertinent plans, plan check number, calculations, reports, etc., directly to these agencies. To assist you, we have listed below
the information which you will need to contact these agencies. Follow-up is your responsibility. Please be aware that some
items resulting from these agency plan reviews may affect your building plan check. These should be communicated to your
Building Plan Check Engineer as soon as possible to prevent unnecessary delays. Submit all agency approvals 48 hours prior
to permit issuance. Notify the Plan Check Engineer when all agency approvals have submitted and request review.

DEPARTMENT OF PUBLIC WORKS                                                                                     Clearance Date:

BUILDING AND SAFETY DIVISION - ELECTRICAL SECTION
Headquarters M-Th 6:45 - 5:30 (626) 458-3180
900 S. Fremont Ave., 3rd Fl, Alhambra, CA 91803-1331
      ELECTRICAL CODE CHECK

OTHER COUNTY DEPARTMENTS                                                                                       Clearance Date:

FIRE PREVENTION BUREAU
Plan approval is required
26600 Agoura Road, # 110, Calabasas, CA 91302
(818) 880-0341 Mon-Thurs 7:00-11:00 a.m.
Chatsworth area only:
23757 Valencia Blvd., Santa Clarita, CA 91355-2192
(661) 286-8821 Mon-Fri 8:00 -4:30

REGIONAL PLANNING DEPARTMENT
320 W. Temple St., 13th Floor (Rm. 1360)
Los Angeles, CA 90012-3282
Public Counter : 1:00 p.m. to 6:00 p.m. M-Th
Telephone Hours: 7:00 a.m. to 12:00 p.m. (213) 974-6411 Mon-Thurs
Calabasas District Office for General Information: 26600 Agoura Road, # 110, Calabasas, CA 91302
(818) 880-3799 Mon-Thurs 7:00 a.m.-11:00 a.m.

ADDITIONAL AGENCIES                                                                                            Clearance Date:

Calabasas Office - Structural Check

Plan Checker:      Carlos Monzon                                  Email:     cmonzon@dpw.lacounty.gov
Phone Number:      (626) 458-6314                                 Date:      9/1/2021
Case 2:22-cv-09203-MEMF-KS Document 42 Filed 04/02/23 Page 4 of 4 Page ID #:122




  October 12, 2021

  Clinton Brown
  Atlas Development Group
  21472 Calle del Barco Street
  Malibu, CA 90265

  SUBJECT:                          APPLICATION has been REJECTED
  APPLICATION NUMBER:               RPAP2021009108
  PROJECT NUMBER:                   PRJ2021-003782
  LOCATION:                         27250 AGOURA ROAD, CALABASAS, CA 91302
                                    (APN: 2064-005-011)

  Dear Applicant,

  The Department of Regional Planning is in receipt of the application materials you
  submitted on September 1, 2021 for the Solar Farm Project at 27250 Agoura Road. Upon
  review of the submitted materials, it has been determined that the proposed project is not
  permitted at this location and the application has been REJECTED.

  Ground mounted utility scale solar facilities are not permitted in Significant Ecological
  Areas       as     described    in     section   22.140.510(C)(5)(a)      found     here:
  https://library.municode.com/ca/los angeles county/codes/code of ordinances?nodeId
  =TIT22PLZO DIV7STSPUS CH22.140STSPUS 22.140.510REEN.                      The proposed
  project site is located wholly within the Santa Monica Mountains North Area Significant
  Ecological Area and for this reason, the proposed project cannot be permitted at this
  location and the application cannot be processed.

  If you have any questions concerning the information in this letter or any other questions
  about your project, please contact Clark Taylor at ctaylor@planning.lacounty.gov.

  Sincerely,



  Clark Taylor, Regional Planner
  Coastal Development Services
